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                                                    THE HONORABLE JOHN C. COUGHENOUR
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 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    NORTHWEST ENVIRONMENTAL                           CASE NO. C16-1866-JCC
      ADVOCATES,
10                                                      MINUTE ORDER
11                          Plaintiff,
             v.
12
      U.S. DEPARTMENT OF COMMERCE, et al.,
13
                            Defendant,
14

15    STATE OF WASHINGTON,
16
                            Defendant-Intervenor.
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            The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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            This matter comes before the Court on the parties’ stipulated motion (Dkt. No. 102) to
21
     amend the briefing schedule (Dkt. No. 87) on current and pending summary judgment motions.
22
     The Court ADOPTS the amended briefing schedule as presented by the parties, as follows:
23
     1.     On or before May 11, 2018, Defendants and Defendant-Intervenor shall each file a
24
     response/cross-motion for partial summary judgment, on claims two and three, which shall not
25
     exceed twenty-four pages.
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 1   2.     On or before May 25, 2018, Plaintiff shall file a combined reply brief in support of its

 2   motion for partial summary judgment and response to any cross-motion for partial summary

 3   judgment on claims two and three. If Defendants and Defendant-Intervenor each file a

 4   response/cross-motion for partial summary judgment, Plaintiff may file a combined

 5   response/reply brief up to twenty-four pages. If the Washington State Farm Bureau and

 6   Washington Cattleman’s Association file an amicus brief on remedy, Plaintiff may file a

 7   combined brief up to thirty-one pages.

 8   3.     On or before June 8, 2018, Defendants and Defendant-Intervenor shall file any reply
 9   briefs in support of any cross-motions for partial summary judgment on claims two and three,
10   which shall not exceed twelve pages.
11          The Clerk is DIRECTED to re-note Plaintiff’s motion for partial summary judgment
12   (Dkt. No. 91) to June 8, 2018.
13          DATED this 2nd day of May 2018.
14                                                          William M. McCool
                                                            Clerk of Court
15
                                                            s/Tomas Hernandez
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                                                            Deputy Clerk
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